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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                           Chapter 11
PACE INDUSTRIES, LLC, et al.,1                                   Case No. 20-10927 (MFW)
                                   Debtors.                      (Jointly Administered)

                                                                 Related Docket No. 88 & 169



   ORDER DENYING MACQUARIE SEPTA (US) I, LLC’S MOTION FOR AN ORDER
  DISMISSING THE CHAPTER 11 CASES OF KPI INTERMEDIATE HOLDINGS, INC.
               AND ITS DIRECT AND INDIRECT SUBSIDIARIES

         Upon consideration of the Motion for an Order Dismissing the Chapter 11 Cases of KPI

 Intermediate Holdings, Inc. and its Direct and Indirect Subsidiaries [Docket No. 88] (the

 “Motion”)2 filed by Macquarie Septa (US) I, LLC, and the Court having considered the

 pleadings filed in support of, and opposition to, the Motion; and it appearing that the Court has

 jurisdiction to consider the relief requested in the Motion; and due and proper notice of the

 Motion having been given, and no other or further notice being required under the

 circumstances; after due deliberation and sufficient cause appearing therefore, for the reasons set

 forth at the hearing held on May 5, 2020;

 IT IS HEREBY ORDERED THAT:

         1.       The Motion is DENIED for the reasons stated by the Court on the record at the

 hearing held on May 5, 2020.

 1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: KPI Holdings, LLC (5032); KPI Capital Holdings, Inc. (6489); KPI Holdings, Inc. (6913); KPI
 Intermediate Holdings, Inc. (4492); Pace Industries, LLC (6490); Pace Industries, Inc. (6822); Pace FQE, LLC
 (3611); Port City Group, Inc. (6598); Muskegon Castings, LLC (6858); Alloy Resources, LLC (0283); and Pace
 Industries of Mexico, L.L.C. (5764). The Debtors’ headquarters are located at 481 South Shiloh Drive, Fayetteville,
 Arkansas 72704.
 2 Capitalized terms not otherwise defined in this Order have the meaning given to them in the Motion.


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        2.      This Court retains jurisdiction to enforce this Order.




Dated: May 11th, 2020
                                                      MARY F. WALRATH
Wilmington, Delaware
                                                      UNITED STATES BANKRUPTCY JUDGE
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